               Case: 25-1578 Document: 29 Page: 1 Date Filed: 04/15/2025
             UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


                               CONCISE SUMMARY OF THE CASE

                     Pursuant to 31"d Cir. LAR 33.3, counsel are required to file a concise summary of
the case within 14 days of the date of docketing of the Notice of Appeal. Total statement is limited to
no more than 2 pages, single-spaced. Counsel may utilize this form or attach a 2 page statement
encompassing the information required by this form.

SHORT
         Atlas Data Privacy Corporation v. Fortnoff Financial, LLC
CAPTION:

USCA NO.: 25-1578 / 25-1555

LOWER COURT or AGENCY and DOCKET NUMBER:
U.S.D.C. New Jersey, No. 1:24-cv-04390

NAME OF
JUDGE: Harvey Bartle Ill

Specify who is suing whom, for what, and the subject of this action. Identify (1) the nature of the
action; (2) the parties to this appeal; (3) the amount in controversy or other relief involved; and (4) the
judgment or other action in the lower court or agency from which this action is taken:
Atlas Data Privacy Corporation ("Atlas") filed a class action complaint against Fornotff Financial, LLC
("Fortnoff") alleging that Fornotff violated New Jersey's Daniel's Law (N.J.S.A. 47:1A-1, et seq. and
N.J.S.A. 56:8-166.1, ("the Law")).The Law allows the imposition of civil liability against an entity that
discloses the home address or unlisted telephone number of certain " covered persons" after the
entity receives appropriate notice to cease any such activity. It provides "not less than" $1,000 for
each violation, as well as attorney's fees. Petitioner moved to dismiss on the ground that the Law
violates the First Amendment. While the district court agreed that the Law is a content-based
restriction on non-commercial speech with no built-in mens rea guardrails, it denied the motion,
creating a blanket privacy exception to strict scrutiny and rewriting the statute to add a negligence
requirement. Petitioners join 37 other defendants in near-identical complaints to appeal this decision.

LIST and ATTACH a copy of each order, judgment, decision or opinion which is involved in this
appeal. If the order(s) or opinion(s) being appealed adopt, affirm, or otherwise refer to the report and
recommendation of a magistrate judge or the decision of a bankruptcy judge, the report and
recommendation or decision shall also be attached.
See attached.




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                Case: 25-1578      Document: 29       Page: 2     Date Filed: 04/15/2025
Provide a short statement of the factual and procedural background, which you consider important to
this appeal:
This case involves the constitutionality of New Jersey's Daniel's Law (the "Law"). Enacted in
response to the tragic murder of Judge Esther Salas' son Daniel, the Law seeks to "enhance the
safety and security" of judges, law enforcement officers, and other government officials.
Beginning in February 2024, Atlas filed approximately 150 nearly identical lawsuits in New Jersey
state courts alleging violations of the Law. In each lawsuit, Atlas purports to be an assignee asserting
claims of more than 19,000 covered persons. Many of these lawsuits, including Petitioner's, were
removed to federal court.Following the district court's direction for how to sequence their
constitutional arguments, Petitioner moved to dismiss solely on the ground that the law is facially
unconstitutional. Petitioner argued that the law violates the First Amendment because it is (1) a
content-based restriction on speech that cannot satisfy strict scrutiny, and (2) a strict liability statute
that regulates truthful speech with no culpability standard. Plaintiff and the New Jersey Attorney
General opposed the motion, arguing that the Law (1) regulates "data" not speech; and (2) is
content-neutral, regulates commercial speech, and/or is a privacy statute that satisfies a lower level
of scrutiny. The district court denied the motion to dismiss, concluding that Daniel's Law is a
content-based restriction on non-commercial speech but was exempt from strict scrutiny because it
protects covered persons' "right to privacy," not just their safety.
Identify the issues to be raised on appeal:
Whether Daniel's Law facially violates the First Amendment.




This is to certify that this Concise Summary of the Case was electronically filed with the Clerk of the
U.S. Court of Appeals for the Third Circuit and a copy hereof served to each party or their counsel of
record

this   15 day of April         ,20 25


/s/ J. Timothy McDonal
Signature of Counsel

Rev. 07/2015

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